Case 1:19-va-00267-TCB Document 3 Filed 04/10/19 Page 1 of 2 Page|D# 23

, .'Ao 95 (Rev. 11/13) search and seizure warrant

UNITED STATES DISTRICT COURT

for the
' Eastern District of Virginia
In the Matter of the Search of )
~ (Brc'ejly describe the property la be searched )
or idenn')j) the person by name and address) ) Cage NO_ 1119-SW-267
60 sToRcK RoAD )
FREDERchSBuRG vA 22406 )
)

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located' 1n the Eanern District of Virginia
(identijj) the person or describe the property to be searched and give its location)!

60 STORCK ROAD, FREDER|CKSB_URG, VA 22406, as described in Attachment.

I find that the affldavit(s), or any.recorded testimony, establish probable cause to search and seize the person or property
described abOVe, and fhat SLICh Search Will reveal (identt_`;‘j/ the person or describe the property to be seized)f

See Attachinent.

YOU ARE COM]MANDED to_ execute this Warrant on or before Apri| 17. 2019 (not to exceed 14 days)
g in the daytime 6:00 a.m. to 10:00 p.m. |:| at any time in the day or night because good cause has been established

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory

as required by law and promptly return this warrant and inventory to Theresa Carroll Buchanan ' , .
(United States Magis!rate Judge)

Cl Pursuant to 18 U. S. C. § 3103a(b), I find that immediate notification may have an adverse result listed 1n 18 U. S. C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or Whose
property, Will be searched or seized (check the appropriate box) 7

EI for ___days (notto exceed 30) El until, the facts justifying, the later specific date of f ` c '»' - §

\

;H Bhere Arro|l Buchan"an “ ,-
. . _ , ' nife ' agistrate Judge t
Date and time issued. \ b\| q ".> .3 0 @/-/ _ `

' ,Iudge 's signature

 

 

City and State; A!exandria, Virginia v Hon. Therese Carrol| Buchanan, U.S. I\/lagistrate Judge
' Printed name anal title

_ d

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Return _`
Case No.: Date d time warrant executed: Copy of warrant and inventory left with:
1119-SW-267 £/ §//020 17 0730 Ro\ou~\' \Q\DMS\JH
. , l .

 

 

Inventory made in the presence of :

RbL.»?/'\" RVM$`O~]

 

Inventory of the property taken and name of any person(s) seized: '
m my T,ej , n hart r. meter etc ,,,. mar

aid bag TAj l k_'_']`U\"\/\) fn /Wg/<e/VZ;€ 5,'/1/// /»J €0/0/
. /

 

designated judge.

Date: y 7

Certification

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

A)M/ A/%Vr

 

Executz'ng ajicer ’s signature

/>*1-/)/\ A. “/ 7[//1/? " firm / /47£¢4//

Printed name and title

 

 

 

